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                     EXHIBIT 2
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From: Tor Gronborg <TorG@rgrdlaw.com>
Sent: Friday, September 25, 2020 10:30 AM
To: Smith, Colleen (SD) <Colleen.Smith@lw.com>; Johnson, Michele (OC) <michele.johnson@lw.com>
Cc: PumaBio <PumaBio@rgrdlaw.com>
Subject: Puma

Colleen and Michele, following up on our call yesterday, attached is Plaintiffs’ proposal for the process to challenge
claims. As discussed, it does not appear that we will be able to reach an agreement on the process to challenge
claims. Accordingly, we propose filing a joint stipulation by October 8 identifying that the parties would like to providing
briefing on their respective proposals and suggest the following schedule:

October 19, 2020                Parties to file opening briefs
October 26, 2020                Parties to file reply briefs
November 2, 2020                Hearing

Tor

Tor Gronborg




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                     Puma: Plaintiffs’ Proposal for Challenging Claims

I.     Within 30 days of entry on the Order, Defendants shall identify:

       1.      The claims Defendants are not challenging (Group 1);

      2.       The claims Defendants are challenging and the specific basis for the challenge(s)
(Group 2); and

        3.     The claims Defendants contend they need additional information about in order to
assess the claim, including the specific information Defendants contend they need and why the
information already provided by the claimant and Claims Administrator is insufficient (Group 3).

II.    For Group 1: Within 30 days of Defendants identifying the claims they are not
challenging, Plaintiffs shall file a proposed judgment for those claims;

III.    For Group 2: Counsel for the parties shall meet and confer regarding the basis for
Defendants’ challenge(s) to each claim. Within 30 days of identifying the claims in Group 2, if
counsel for the parties are unable to resolve disputes regarding any challenged claims,
Defendants shall file a motion to exclude the disputed claims, including for each claim the basis
for the requested exclusion. Plaintiffs shall have 30 days to respond to Defendants’ motion and
Defendants shall have 15 days thereafter to file a reply.

IV.     For Group 3: Counsel for the parties shall meet and confer regarding the specific
information Defendants contend they need in order to assess the claim. If the parties are unable
to reach an agreement, within 30 days of identifying the claims in Group 3, Defendants may file
a motion for leave to amend the Final Pretrial Order pursuant to Fed. R. Civ. P. 16 to seek
discovery. Any such motion must identify the specific discovery, on a claim-by-claim basis, that
Defendants seek leave to serve. Plaintiffs shall have 21 days to respond to Defendants’ Fed. R.
Civ. P. 16 motion and Defendants shall have 7 days thereafter to file a reply.




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